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                     UNITEP STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION
  UNITED STATES OF AMERICA,


  v.         CASE NO. 8:12-CR-205-T-17MAP

  ANGEL VILLANUEVA, et al.




                                         ORDER


        This cause is before the Court on:

        Dkt. 1047     Motion for Reconsideration of Order (Doc. 864) Denying
                      Defendants’ Motion to Dismiss (Doc. 502) (Charlie L. Green)
        Dkt. 1078     Government’s Opposition to Defendant Charlie Green’s Motion for
                      Reconsideration of Order (Doc. 864) Denying Defendants’ Motion
                      to Dismiss (Doc. 502)

        Defendants move for reconsideration of the Court’s Order (Doc. 864) denying
  Defendants’ Motion to Dismiss (Doc. 502). All Co-Defendants join the Motion, which
  has also been expressly adopted by Defendants Jerry W. Green, Jr. and Napoleon
  Harris with regard to Counts Three and Nineteen.


        All Defendants joined in the Motion to Dismiss. (Dkt. 502, p. 3). The Motion for
  Reconsideration is addressed to the following:


        Count Three                Jerry W. Green, Jr.
        Count Four                 Nathaniel Harris, Charlie L. Green
        Count Five                 Nathaniel Harris, Napoleon Harris, Charlie L. Green
        Count Six                  Nathaniel Harris, Napoleon Harris, Charlie L. Green
        Count Nine                 Nathaniel Harris
        Count Ten                  Nathaniel Harris
        Count Seventeen            Napoleon Harris, Charlie L. Green
        Count Eighteen             Charlie L. Green, Jerry W. Green, Jr.
        Count Nineteen             Napoleon Harris, Jerry W. Green, Jr.
        Count Twenty-Three         Napoleon Harris
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         Count Twenty-Five            Napoleon Harris, Charlie L. Green, Corey Deonta
                                      Harris, Deonte Jamal Martin


        The Government opposes the Motion for Reconsideration.


  I. Standard of Review


        The decision to grant a motion for reconsideration is within the sound discretion
 of the trial court and will only be granted to correct an abuse of discretion. Region 8
  Forest Serv. Timber Purchases Council v. Alcock. 993 F.2d 800, 806 (11th Cir. 1993).
 There are three bases for reconsidering an order: “ (1) an intervening change in
 controlling law; (2) availability of new evidence; and (3) the need to correct clear error or
  prevent manifest injustice. Sussman v. Salem. Saxon & Nielsen. P.A.. 153 F.R.D. 689,
 694 (M.D. Fla. 1994). See also Lamar Adver. of Mobile. Inc. v. Citv of Lakeland. 189
  F.R.D. 480, 489 (M.D. Fla. 1999).


         Furthermore, a motion for reconsideration does not provide an opportunity to
  simply reargue, or argue for the first time, an issue the Court has once determined.
  Court opinions are “not intended as mere first drafts, subject to revision and
  reconsideration at a litigant's pleasure.” Quaker Allov Casting Co. v. Gulfco Indus.. Inc.,
  123 F.R.D. 282, 288 (N.D. III. 1988). The reconsideration of a previous order is an
  “extraordinary remedy” and “must set forth facts or law of a strongly convincing nature
 to induce the court to reverse its prior decision.” Ludwig v. Liberty Mutual Fire Ins. Co.,
  2005 WL 1053691 (citing Lamar. 189 F.R.D. at 489 (M.D. Fla. 1999)).


  II.    Discussion


 A. Doc. 864     The Court’s Order



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         In the Order, the Court found that Count I (RICO conspiracy) of the Second
  Superseding Indictment is not a “crime of violence” pursuant to 18 U.S.C- Sec.
  924(c)(3)(A).


         The Court agreed with the analysis in United States v. Dervishai. 2016 WL
  1019357 (E.D. N.Y. Mar. 14, 2016), that 18 U.S.C. Sec. 924(c)(3)(B) is constitutional
  notwithstanding Johnson v. United States. 135 S.Ct. 2551 (2015)(holding that imposing
  an enhanced sentence under the residual clause of the Armed Career Criminal Act
  violates the Constitution’s guarantee of due process). The Court further found that
  Count I (RICO conspiracy) of the SSI, i.e conspiracy to commit murder, kidnapping,
  robbery, etc., is a “crime of violence” pursuant to 18 U.S.C. Sec. 924(c)(3)(B). The
  Court noted that Section 924(c)(3)(B) only focuses on crimes that by their very nature
  involve “a substantial risk that physical force against the person or property of another
  may be used in the course of committing the offense,” and does not contain the
  confusing list of crimes referenced in Section 924(e)(2)(B)(ii).


  B. Defendants’ Request for Relief


         Defendants seek reconsideration based on an intervening change in the law.
  Defendants argue that the “substantial weight of authority now establishes that 18
  U.S.C. Sec. 924(c)(3)(B), the residual clause, is unconstitutionally void for vagueness
  under the Due Process Clause of the Fifth Amendment.” (Dkt. 1047, p. 1).


         Defendants rely on In re: Pinder. 2016 WL 3081954 (11th Cir. June 1, 2016) and
  In re: Gomez. 2016 WL 3971720 (11th Cir. July 25, 2016), in which the Eleventh Circuit
  notes the similarity to the residual clause held unconstitutional in Johnson. Defendants
  argue that other courts have rejected the argument that the residual clause of Sec.
  924(c) differs enough from the Sec. 922(g) residual clause that it survives Johnson.



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  C. The Government’s Opposition


         The Government argues that the case law on which Defendants rely is not
  sufficient to justify the grant of reconsideration, and Defendants’ Motion for
  Reconsideration fails on the merits.


  1.     Reconsideration is Not Warranted


         The Government argues that the cases on which Defendants rely make clear
  that the Eleventh Circuit Court of Appeals was not ruling on the constitutionality of Sec.
  924(c)’s residual clause. In Gomez, the Eleventh Circuit Court of Appeals states that
  “the question of whether Johnson invalidates Gomez’s sentence must be decided in the
  first instance by the District Court.” In Pinder. the Eleventh Circuit Court of Appeals
  notes that “Our Court hasn’t decided if Johnson applies to Sec. 924(c)(3)(B).” The
  Government argues that the Eleventh Circuit Court of Appeals restricted itself to its
  gatekeeping function and determined only that the petitioners had established a prima
  facie case that would allow petitioners to make their substantive arguments.


         The Government argues that the cases cited do not represent a change in
  controlling precedent and therefore do not support reconsideration of the Court’s ruling.


  2.     Johnson Does Not Invalidate Sec. 924(c)’s Residual Clause


         The Government argues that there are material differences between Sec.
  924(c)’s residual clause and the ACCA’s residual clause, 18 U.S.C. Sec.
  924(e)(2)(B)(ii). The residual clause at issue in this case lacks the fatal combination of
  elements found in the ACCA’s residual clause, as it does not contain a confusing
  exemplar of crimes and does contain an explicit temporal limitation, it has a better
  defined risk analysis (a narrower scope and more concrete standard of risk), and it has

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  not been subjected to several failed attempts by the United States Supreme Court to
  construe the clause in a principled and objective manner. The Government notes that
  other courts have held that Johnson does not invalidate the residual clause in Sec.
  924(c), citing cases. (Dkt. 1078, pp. 7-8).


        The law remain unsettled as to whether 18 U.S.C. Sec. 924(c)(3)(B) is void for
  vagueness, like the residual clause found to be void for vagueness in Johnson. After
  consideration, the Court finds that Defendants have not established a change in
  controlling precedent that would justify reconsideration. The Court therefore denies
  Defendants’ Motion for Reconsideration. Accordingly, it is


        ORDERED that Defendants’ Motion for Reconsideration (Dkt. 1047) is denied..


        DONE and ORDERED in Chambers in Tampa, Florida on this X ^ cfavof
  August, 2016.




  Copies to:




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